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                  Exhibit 1
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11
     Attorneys for Defendant
12   PREMIER NUTRITION COMPANY, LLC

13                               UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15   MARY BETH MONTERA, individually and           Case No.     3:16-cv-06980-RS
     on behalf of all others similarly situated,
16                                                 PREMIER NUTRITION’S
                          Plaintiff,               PROPOSED JUDGMENT
17
            v.                                     Date:      July 15, 2022
18                                                 Time:      10:00 a.m.
     PREMIER NUTRITION CORPORATION,                Ctrm:      3 – 17th Floor
19                                                            Hon. Richard Seeborg
                          Defendant.
20                                                 Complaint Filed: December 5, 2016
                                                   Trial Date:      May 23, 2022
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     PREMIER NUTRITION’S PROPOSED JUDGMENT
     Case No. 3:16-cv-06980-RS
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 1                                   [PROPOSED] FINAL JUDGMENT

 2          Following trial and a jury verdict on June 7, 2022, the Court hereby enters final judgment

 3   in this action against Defendant Premier Nutrition Corporation (now known as Premier Nutrition

 4   Company, LLC), and in favor of the Plaintiff and the Class defined as “all persons who purchased

 5   Joint Juice in the State of New York from December 6, 2013 to December 28, 2021.”

 6          Pursuant to the jury’s verdict, the Class’s total actual damages are $1,488,078.49.

 7   Although the jury found that Premier violated both New York General Business Law (“GBL”) §

 8   349 and § 350, Plaintiff and the Class may not recover statutory damages under both statutes, as

 9   this would constitute an impermissible double recovery. See Time Warner Cable v. Barnes, 13 F.

10   Supp. 2d 543, 549 (S.D.N.Y. 1998).

11          Moreover, awarding the class statutory damages of $500 per unit of Joint Juice sold under

12   GBL § 350 would violate Premier’s due process rights under St. Louis I.M. & S. Ry. Co. v.

13   Williams, 251 U.S. 63, 67 (1919). These statutory damages, which would amount to $83,124,500

14   under GBL § 350-e alone (based on the jury’s finding of 166,249 units of Joint Juice sold in New

15   York during the class period), are “wholly disproportioned to the offense” and “obviously

16   unreasonable.” See Williams, 251 U.S. at 67. This amount of statutory damages is also

17   inconsistent with the New York legislature’s intent that statutory damages under the GBL are

18   unavailable in class actions.

19          Accordingly, the Court shall reduce the aggregate amount of statutory damages as

20   necessary to comply with due process. The Court finds that class members may recover $50 each

21   (or their actual damages if they exceed $50) under GBL § 349(h), subject to a claims

22   administration process to be determined after entry of judgment. This amount of statutory

23   damages is appropriate and constitutional in this case, and is consistent with the New York

24   legislature’s intent and the language of the statute.

25          The Court finds that Plaintiff and the Class are not entitled to prejudgment interest under

26   New York law for their statutory damages. However, Plaintiff and the Class are entitled to

27   prejudgment interest at a rate of 9% on their actual damages beginning on the final day of the

28   class period, December 28, 2021.


     PREMIER NUTRITION’S PROPOSED JUDGMENT
     Case No. 3:16-cv-06980-RS                                                                            1
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 1            Judgment is hereby entered against Premier and in favor of Plaintiff and the Class in the

 2   amount of at least $1,488,078.49, plus prejudgment interest, with class members entitled to

 3   recover their actual damages or $50, whichever is greater, pursuant to GBL § 349(h).

 4            Pursuant to 28 U.S.C. § 1961, from the date of entry of this Final Judgment and until this

 5   Final Judgment is satisfied in full, Plaintiff and the Class are also entitled to post-judgment

 6   interest at the rate equal to the weekly average 1-year constant maturity Treasury yield, as

 7   published by the Board of Governors of the Federal Reserve System, for the calendar week

 8   preceding the date of this Final Judgment.

 9            Pursuant to Rule 23(h)(1) and 54(d) of the Federal Rules of Civil Procedure and Local

10   Rule 54, any motion for attorneys’ fees, expenses, costs, and incentive awards shall be filed no

11   later than 14 days after entry of this Final Judgment. Class members may object to the motion

12   pursuant to Rule 23(h)(2) of the Federal Rules of Civil Procedure.

13            Plaintiff shall file a motion for a proposed notice plan and claims administration plan

14   within 28 days of the entry of Final Judgment.

15            IT IS SO ORDERED.

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     Dated:                                                 ___________________________________
17                                                          Hon. Richard Seeborg
18                                                          United States District Judge

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     PREMIER NUTRITION’S OPPOSITION TO MOTION FOR ENTRY OF JUDGMENT
     Case No. 3:16-cv-06980-RS                                                                             2
